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 DEFENDANT:            JOSEPH EUGENE CLEMENTS, a/k/a “Akasha Song”

 YOB/AGE:              1978

 COMPLAINT             ___x___ Yes       _______ No
 FILED?
                       If Yes, MAGISTRATE CASE NUMBER 22-mj-105-SKC

 OFFENSE(S):            (1) 21 U.S.C. § 846 Conspiracy to possess with intent to distribute a controlled
                            substance
                        (2) 21 U.S.C. § 846 Conspiracy to manufacture a controlled substance
                        (3) 21 U.S.C. § 846 Conspiracy to possess with intent to distribute a controlled
                            substance
                        (4) 21 U.S.C. § 841(a)(1) Distribution of a controlled substance
                        (5) 18 U.S.C. § 1956(a)(1)(A)(i) Money laundering

 LOCATION OF           Boulder County, CO
 OFFENSE:

 PENALTY:              (1)-(4) 21 U.S.C. § 841(a)(1), 846: NMT 20 years imprisonment; NLT 3 years
                       SR; NMT life SR; NMT $1,000,000 fine; or both; $100 SA
                       (5) NMT 20 years imprisonment; NMT 3 yrs SR; fine of NMT $500,000 or twice
                       the laundered funds, or both fine and imprisonment; $100 SA

 AGENT:                HSI SA Kevin Vassighi


 AUTHORIZED            Andrea Surratt
 BY:                   Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:


    five days or less __x__ over five days

THE GOVERNMENT

X will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is not applicable to this defendant.
